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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LUXURY BRANDS, LLC,
                                                    Case No. 24-cv-2853
               Plaintiff,
                                                    Judge Lindsay C. Jenkins
v.
                                                    Magistrate Judge Beth W. Jantz
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses with prejudice all causes of action in the amended complaint against the following

Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

     Def No.                                     Defendant
      #135                                        PAIQ HUI
      #209                                       Flewfun-US

        The respective Defendants have not filed an answer to the complaint or a motion for

summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule

41(a)(1) is appropriate.


Date: May 21, 2024                                  Respectfully submitted,

                                                    /S/BRANDON BEYMER
                                                    BRANDON BEYMER (ARDC NO. 6332454)
                                                    DALIAH SAPER (ARDC NO. 6283932)
                                                    SAPER LAW OFFICES, LLC
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                                                    ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2024, I electronically filed the foregoing with the Court

using the CM/ECF system and I will serve Defendants with this Motion and Memorandum

through email and electronic publication.



                                                                    /s/ Brandon Beymer
                                                                      Brandon Beymer
